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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                                            Chapter 15
    In re
                                                            Case No. 24-10632 (CTG)
    Pride Group Holdings Inc., et al. 1
                                                            (Jointly Administered)
             Debtors in Foreign Proceedings.
                                                             Hearing Date:
                                                             November 12, 2024 at 1:00 p.m. (ET)

                                                             Objection Deadline:
                                                             November 5, 2024 at 4:00 p.m. (ET)

                      MOTION OF THE FOREIGN REPRESENTATIVE
                     FOR ENTRY OF AN ORDER (I) ENFORCING THE
                WIND-DOWN ORDERS AND (II) GRANTING RELATED RELIEF

            Randall Benson, solely in his capacity as the duly authorized foreign representative (the

“Foreign Representative”) of the above-captioned debtors (collectively, the “Debtors”), 2 in the

Canadian proceedings (the “CCAA Proceedings”) commenced under the Companies’ Creditors

Arrangement Act (the “CCAA”), pending before the Ontario Superior Court of Justice

(Commercial List) in Ontario, Canada, Court File No. CV-24-00717340-00CL (the “Canadian

Court”), respectfully submits this motion (the “Motion”) for entry of an order (the “Proposed

Order”), substantially in the form attached hereto as Exhibit A, granting relief under section

1521(a)(7) of Title 11 of the United States Code (the “Bankruptcy Code”).




1
      The last four digits of Debtor Pride Group Holdings Inc.’s Canadian business number are 6399. Due to the large
      number of debtors in these chapter 15 cases, a complete list of the debtor entities and the last four digits of their
      unique identification numbers is not provided herein. A complete list of such information may be obtained on
      the website of the Debtors’ noticing agent at https://dm.epiq11.com/pridegroup. The Debtors’ service address for
      the purposes of these chapter 15 cases is 1450 Meyerside, Suite 401, Mississauga, Ontario, L5T 2N5, Canada.
2
      The term “Debtors” does not include: 1000089137 Ontario Inc., DVP Holdings, Corp., Parker Global Enterprises,
      Inc., Parker Transport Co., and Arnold Transportation Services, Inc. (collectively, the “Arnold Entities”).
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                                       JURISDICTION AND VENUE

         1.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012. This is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2)(P).

         2.       Venue is proper in this Court and this District pursuant to 28 U.S.C. § 1410.

         3.       The Foreign Representative, in his capacity as authorized foreign representative,

has properly commenced these chapter 15 cases pursuant to sections 1504, 1509, and 1515 of the

Bankruptcy Code and rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”).

         4.       The statutory predicates for the relief requested herein are section 105(a) and 1521

of the Bankruptcy Code.

                                                 BACKGROUND

I.       Commencement of the CCAA Proceedings and the Chapter 15 Cases

         5.       The Debtors and certain of their non-Debtor affiliates (collectively, the “Pride

Group”) 3 operate a trucking and logistics conglomerate based in Canada with operations in Canada

and the United States. The Pride Group’s businesses are managed from their headquarters in

Mississauga, Ontario, and they maintain facilities and operations in both Canada and the United

States. The Pride Group owns substantial assets located within the territorial jurisdiction of the




3
     As used herein, “Pride Group” includes: (i) each of the “Applicants” listed in Schedule “A” to the PGL Vesting
     Order (as defined below); (ii) Pride Truck Sales L.P., TPine Leasing Capital L.P., and Sweet Home Hospitality
     L.P. ((i) and (ii) together, the “Pride Entities”); and (iii) Block 6 Holding Inc., 2500819 Ontario Inc., Pergola
     Holdings, Corp., and Pride Global Insurance Company Ltd. Further, as noted in the Recognition Order (as defined
     below), the Foreign Representative is not seeking relief with respect to the Arnold Entities. As a result, the terms
     “Pride Group” and “Pride Entities” do not include the Arnold Entities.



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United States, including, among other things, real estate properties, bank accounts, equipment, and

trucks.

          6.     On March 27, 2024, the Debtors commenced the CCAA Proceedings in the

Canadian Court, and the Canadian Court issued the initial order on the following day (the “Initial

Order”) authorizing, among other things, Randall Benson of RC Benson Consulting Inc. to act as

the Foreign Representative and file these chapter 15 cases (collectively, the “Chapter 15 Cases”).

          7.     On April 1, 2024 (the “Petition Date”), and on April 15, 2024, the Foreign

Representative filed petitions for the Pride Group’s Canadian and U.S. operating companies, single-

asset real estate holding companies, and non-real estate holding companies (the “Petitions”), thereby

commencing the Debtors’ Chapter 15 Cases. Also on the Petition Date, the Foreign Representative

filed the Verified Petition for (I) Recognition of Foreign Main Proceedings, (II) Recognition of Foreign

Representative, and (III) Related Relief Under Chapter 15 of the Bankruptcy Code [D.I. 2] (the

“Verified Petition”) seeking, among other things, recognition of the CCAA Proceedings as “foreign

main proceedings” under section 1517 of the Bankruptcy Code and certain related relief.

          8.     On April 23, 2024, the Debtors filed an amended Verified Petition [D.I. 121] (the

“Amended Verified Petition, and together with the Petitions, the “Chapter 15 Petitions”) seeking,

among other things, recognition of the CCAA Proceedings as “foreign main proceedings” under

section 1517 of the Bankruptcy Code, enforcement of the A&R Initial Order in the United States on a

final basis, and related relief.

          9.     On April 30, 2024, the Arnold Entities (except for 1000089137 Ontario Inc.) filed

cases under chapter 7 of the Bankruptcy Code pending in the United States Bankruptcy Court for




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the District of Delaware. 4             As described in the Amended Verified Petition, the Foreign

Representative is not seeking further relief with respect to the Arnold Entities in these Chapter 15

Cases.

          10.       On May 2, 2024, the Court entered an order [D.I. 152] (the “Recognition Order”)

granting recognition of the CCAA Proceedings and the related relief sought in the Chapter 15 Petitions,

including, among other things, extending the relief granted in the Court’s Order Granting Provisional

Relief in Connection with Debtor in Possession Financing and Certain Protocols Pursuant to Sections

105(a) and 1519 of the Bankruptcy Code [D.I. 110] (the “Second Provisional Relief Order”) on a final

basis.

II.       Global Wind Down of the Pride Entities’ Operations

          11.       As set forth in the (i) Fourteenth Report of the Monitor (including the supplements

thereto), dated August 28, 2024, (ii) Fifteenth Report of the Monitor, dated September 22, 2024, and

(iii) Sixteenth Report of the Monitor, dated October 9, 2024 (collectively, the “Monitor’s Reports”),

which are attached hereto as Exhibits B-D, a going concern restructuring plan for the Pride Entities is

no longer a feasible option, other than the going concern sale of the PGL Entities,5 given the lack of

support from the Pride Entities’ stakeholders. Accordingly, Ernst & Young Inc., the Debtors’




4
      See In re Arnold Transportation Services, Inc., Case No. 24-10928 (CTG) (Bankr. D. Del. 2024); In re DVP
      Holdings Corp., Case No. 24-10931 (CTG) (Bankr. D. Del. 2024); In re Parker Global Enterprises, Inc., Case
      No. 24-10929 (CTG) (Bankr. D. Del. 2024); In re Parker Transport Co., Case No. 24-10930 (CTG) (Bankr. D.
      Del. 2024).
5
      As used herein, the “PGL Entities” include Debtors Pride Group Logistics Ltd., Pride Group Logistics USA, Co.,
      Pride Group Logistics International Ltd., 12944154 Canada Inc. and 933 Helena Holdings Inc., and non-Debtor
      Pride Group Insurance Company Ltd. On October 3, 2024, the Canadian Court granted an order (the “PGL
      Vesting Order”) approving the sale of the PGL Entities’ business as a going concern to 1000927605 Ontario Inc
      (the “PGL Sale”). This Court subsequently entered an order on October 10, 2024 (the “PGL Enforcement Order”)
      [D.I. 276] enforcing the PGL Vesting Order in the territorial jurisdiction of the United States. Further, the Foreign
      Representative filed a notice of the PGL Sale [D.I. 272] in compliance with the Court-approved sale procedures
      [D.I. 197] and, having received no objections thereto by the applicable deadline, the Debtors are authorized to
      consummate the PGL Sale without further order from this Court. The PGL Sale has not yet closed as of the date
      of this Motion.


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Canadian Court-appointed monitor (in such capacity, the “Monitor”) and the Debtors’ chief

restructuring officer (the “CRO”) have directed their efforts towards developing a centralized,

coordinated, and controlled wind-down of the Pride Entities’ remaining businesses and assets.

       12.     The CRO, in consultation with the Monitor, has engaged extensively with the Pride

Entities’ key stakeholders to develop a centralized wind-down plan for the Pride Entities, and

obtain the funding required to complete the CCAA proceedings and these Chapter 15 Cases.

       13.     As detailed in the Monitor’s Reports, the Monitor believes that a centralized wind-

down plan is imperative given the disorder that would result from secured creditors pursuing

piecemeal enforcement actions against the vast number of vehicles in the Pride Entities’ fleet

across North America, as well as thousands of leased vehicles (most of which are constantly in

transit). Any form of wind down would also require interim cash to fund the necessary payroll,

transition costs, transfer of assets to the applicable secured parties, and administration costs.

Without this funding, employees would be immediately terminated, customers would be stranded,

committed and in-progress sales would be abandoned, leases would not be serviced, delinquency

rates would increase, and many vehicles would be abandoned without the critical infrastructure

needed to support their retrieval or to determine competing claims against the assets of the Pride

Entities. This would make it challenging, if not impossible, to turn-over the Pride Entities’ assets

to their secured creditors in an orderly fashion.

       14.     As further described in the Monitor’s Reports, the DIP Facility (as defined in

Monitor’s Reports) matured and was fully drawn as of July 31, 2024, and the Pride Entities have

been unable to obtain alternative financing from external sources. To address ordinary course

working capital and other general corporate needs, the Pride Entities sought and obtained orders

from the Canadian Court authorizing the Pride Entities to retain and use amounts that the Pride




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Entities received through lease payments or pursuant to enforcement steps taken with respect to

defaulted leases (the “Deferred Payments”) from and after July 15, 2024 until September 30, 2024.

The Pride Entities’ use of the Deferred Payments had been their only source of working capital

and operational funding between August 1, 2024 through September 30, 2024, while the parties

worked to develop a centralized wind-down plan.

       15.     The Pride Entities initially filed a motion in the CCAA Proceedings on September

24, 2024, seeking an order approving a proposed wind-down plan and funding and allocation of

the Liquidity Requirement (as defined below) by and among the Pride Entities’ secured creditors

(as proposed, the “Initial Wind-Down and Funding Order”). Following a contested hearing before

the Canadian Court on September 26, 2024, at which several affected parties appeared and asserted

objections, the Canadian Court issued an Endorsement on September 30, 2024, which is attached

hereto as Exhibit E (the “September 30 Endorsement”), setting forth its reasons for declining to

approve that Initial Wind Down and Funding Order, including that the Canadian Court did not

have jurisdiction to compel certain of the Pride Entities’ securitization creditors to advance new

money to fund the wind-down plan without their consent. The Canadian Court noted in the

September 30 Endorsement that the Pride Entities’ continued engagement with their stakeholders

culminated in a consensual resolution that the Pride Entities (other than the PGL Entities) need to

be wound-down and that approximately CAD$40 million (the “Liquidity Requirement”) is

necessary to fund the wind-down of their operations.

       16.     Following receipt of the September 30 Endorsement, the Pride Entities, in

consultation with the Monitor and the CRO, continued to engage with their key stakeholders to

develop a workable wind-down plan. The parties’ efforts ultimately culminated in obtaining the

Wind-Down and Turn-Over Order (defined below) from the Canadian Court, which provides a




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mechanism for an orderly wind-down of the Pride Entities’ operations, the turnover of the Pride

Entities’ remaining assets to their secured creditors, and funding for the foregoing.

III.       The Wind-Down and Turn-Over Order 6

           17.      On September 24, 2024, the Pride Entities filed the Motion Approving Wind-Down

Funding Contribution, Turn-Over, Stay Extension and KERP (the “Wind-Down and Turn-Over

Motion”) in the CCAA Proceedings seeking an order (the “Wind-Down and Turn-Over Order”)

approving the implementation of a centralized, coordinated, and controlled wind-down of the Pride

Entities’ remaining assets, other than in respect of the PGL Entities, including, among other things:

(i) authorizing the sale of Inventory to fund the cost of the Pride Entities’ wind-down plan (the

“Wind-Down Plan”), except where a Recourse Lender has (a) satisfied its Liquidity Contribution

(as defined below) in accordance with the terms of the Wind-Down and Turn-Over Order, if it

elects to do so, and (b) retrieved its Inventory by the applicable Turn-Over Outside Dates; and (ii)

terminating the Governance Protocol in respect of Remaining Assets turned over to Recourse

Lenders. On October 10, 2024, the Canadian Court granted the Wind-Down and Turn-Over Order,

which is attached hereto as Exhibit F.

           18.      A summary of the key terms of the relief granted in the Wind-Down and Turn-Over

Order is as follows:

                          Key Terms of the Wind-Down and Turn-Over Order

     Wind-Down Cash Flow                        •    The Wind-Down Cash Forecast and the Wind-Down
    Forecast and Wind-Down                           Plan, each as detailed in the Monitor’s Reports, are
              Plan                                   approved, subject to such amendments as the Pride
                                                     Entities, as directed by the CRO in consultation with
                                                     the Monitor, may deem necessary.
    Mechanics of the Liquidity                  •    Each Recourse Lender shall be permitted three
    Contribution Alternative                         business days from the date of the Wind-Down and

6
       Capitalized terms used in this section but not otherwise defined herein have the meanings ascribed to them in
       the Wind-Down and Turn-Over Order.


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                                   Turn-Over Order, or such later date agreed among the
                                   applicable Recourse Lender, the CRO and the
                                   Monitor (the “Liquidity Contribution Deadline”), to
                                   elect to satisfy its proportionate share of the Liquidity
                                   Requirement (its “Liquidity Contribution”) in full to
                                   the Monitor (subject to applicable set-offs). Upon
                                   receipt of such payment, each Recourse Lender shall
                                   be entitled to receive all of the Remaining Assets in
                                   respect of which it asserts an interest.
Mechanics of Inventory Sales
                               •   The Pride Entities are permitted to sell Inventory
and Transfer of Leasebooks
                                   through their agent, Nations Capital, LLC (“NCI”),
                                   including Multiple Collateral Vehicles (which only
                                   includes those Multiple Collateral Vehicles in which
                                   a Recourse Lender and not any Securitization Party
                                   has asserted an interest) other than (i) Inventory in
                                   respect of which the Monitor has received a Liquidity
                                   Contribution by the Liquidity Contribution Deadline,
                                   and (ii) Inventory which has been retrieved by the
                                   Recourse Lender by the applicable Turn Over
                                   Outside Date.
                               •   NCI will conduct sales through an orderly sale
                                   process utilizing its existing sale channels and
                                   relationships through private treaty sales. Any net
                                   sale proceeds will first be applied to any unpaid
                                   portion of the Liquidity Contribution by the
                                   applicable Recourse Lender, with any excess to be
                                   distributed to the applicable Recourse Lender entitled
                                   to such amounts.
                               •   All Leasebooks shall be transferred to the Recourse
                                   Lenders following payment of the Liquidity
                                   Contribution by the applicable Turn-Over Outside
                                   Date. In the case of Recourse Lenders that have not
                                   elected to pay their Liquidity Contribution, the Pride
                                   Entities shall be permitted to apply the Leasebooks
                                   against the applicable Recourse Lenders’ Liquidity
                                   Contribution, as well as the sale of Inventory.
Multiple Collateral Vehicles
                               •   Recourse Lenders will be permitted to reach a
 and Priority Collateral
                                   settlement with any other Recourse Lender in respect
         Vehicles
                                   of any Multiple Collateral Vehicles by the MCV
                                   Resolution Outside Date, and the Recourse Lender
                                   that has been determined by such settlement to have
                                   an interest in such vehicle may take possession of
                                   same by the relevant Turn-Over Outside Date,



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                                                    provided it has satisfied its Liquidity Contribution by
                                                    the applicable deadline.
                                               •    Each Recourse Lender that has satisfied its Liquidity
                                                    Contribution by the Liquidity Contribution Deadline
                                                    may take possession of all PCVs in which such
                                                    Recourse Lender has asserted an interest, subject to the
                                                    future determination of entitlement to the PCVs.
                                               •    The Pride Entities will be permitted to monetize,
                                                    through NCI, any and all other Multiple Collateral
                                                    Vehicles and PCVs.



IV.       KERP Order 7

          19.      Given the contemplated wind-down of the Pride Entities’ operations, the CCAA

proceedings and these Chapter 15 Cases, there is significantly reduced incentive for certain key

employees of the Pride Entities (the “Key Personnel”) to remain employed by the Pride Entities.

The CRO and the Monitor require the continued aid and contribution of the Key Personnel because

their knowledge and skillsets are imperative to complete the next steps in the Wind-Down Plan,

including the complicated proposed turn-over of assets. The Key Personnel have significant

experience and specialized expertise that cannot be easily replicated or replaced. Retaining these

Key Personnel would also be difficult because they will likely have more certain employment

opportunities and will be faced with a significantly increased workload during the remainder of

the CCAA Proceedings and these Chapter 15 Cases.

          20.      Accordingly, the Wind-Down and Turn-Over Motion also sought approval by the

Canadian Court of the KERP, in the maximum amount of CAD$1.8 million, to be held by the

Monitor in trust, until such time as the Key Personnel (and such other essential employees, who

are not Key Personnel, subject to the approval of the CRO and the Monitor) become entitled to


7
      Capitalized terms used in this section but not otherwise defined herein have the meanings ascribed to them in
      the KERP Order.



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receive their payments, at which time the Monitor will release sufficient funds to the relevant Pride

Entity to make such payments in accordance with the terms and conditions of the KERP. The

Canadian Court granted the foregoing relief on October 10, 2024 in the order attached hereto as

Exhibit G (the “KERP Order”).

V.       Collateral Management Order and Sale Approval Order 8

         21.      On August 2, 2024, the Royal Bank of Canada, in its capacity as administrative

agent (the “Administrative Agent”) for and on behalf of the Syndicate Lenders under the

Syndicated Facility (as defined in the Recognition Order), filed a motion (the “Collateral

Management Motion”) in the CCAA Proceedings seeking an order (the “Collateral Management

Order”) for the appointment of Alvarez & Marsal Canada Inc. as manager (in such capacity as an

officer of the Canadian Court, the “Manager”) of those assets, undertakings and properties of the

Pride Entities, including all proceeds thereof, included in the definition of “Management Property”

in the Collateral Management Order.

         22.      The Collateral Management Order provides the Manager with, among other things,

the necessary powers to (i) take possession of and exercise control over the Management Property

and any and all proceeds, receipts and disbursements arising out of or from the Management

Property, and (ii) apply for any vesting order or other orders necessary to convey the Management

Property or any part or parts thereof to a purchaser or purchasers thereof, free and clear of any

liens or encumbrances affecting such Management Property, provided however, that the Manager

may rely on the Wind-Down and Turn-Over Order to convey Management Property free and clear




8
     Capitalized terms used in this section but not otherwise defined herein have the meanings ascribed to them in
     the Collateral Management Order or the Sale Approval Order, as applicable.



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of Claims and Encumbrances (as defined in the Wind-Down and Turn-Over Order) as set out

therein.

        23.     Additionally, the Collateral Management Order authorizes the Manager to borrow

such monies from time to time as it may consider necessary or desirable, provided that the

outstanding principal amount does not exceed CAD$6 million at any time for the purpose of

funding the exercise of the powers and duties conferred upon the Manager. The whole of the

Management Property will be charged by way of a fixed and specific charge (the “Manager’s

Borrowings Charge”) as security for the payment of the monies borrowed, together with interest

and charges thereon, in priority to all security interests, trusts, liens, charges and encumbrances,

statutory or otherwise, in favor of any Person, upon the turn-over of the Management Property in

accordance with the Wind-Down and Turn-Over Order. The Collateral Management Order further

provides that the Manager and counsel to the Manager shall be (i) paid their reasonable fees and

disbursements from the proceeds of Management Property or the Manager’s borrowings, and (ii)

granted a charge (the “Manager’s Charge”) on the Management Property, as security for such fees

and disbursements and that the Manager’s Charge shall form a first charge on the Management

Property in priority to all security interests, trusts, liens, charges and encumbrances, statutory or

otherwise, in favor of any Person, upon the turn-over of the Management Property in accordance

with the Wind-Down and Turn-Over Order.

        24.     The Canadian Court granted the Collateral Management Order on October 17,

2024.      In accordance with the Collateral Management Order and the Canadian Court’s

Endorsement dated October 19, 2024, which are attached hereto as Exhibit H, Schedule “B” to

the Collateral Management Order may be amended by agreement among the Manager, the CRO,

and the Monitor, or by further order of the Canadian Court.            The Foreign Representative




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understands that additional Recourse Lenders intend to request an amendment to the Collateral

Management Order, expanding the definition of Management Property to include vehicles secured

in favor of certain additional Recourse Lenders. If the Canadian Court grants such amendment to

the Collateral Management Order (an “Amended Collateral Management Order”) in advance of

the hearing before this Court, the Foreign Representative intends to supplement this Motion by

filing the as-granted Amended Collateral Management Order shortly after it is granted by the

Canadian Court, along with a redline reflecting any changes.

       25.     In connection with the Collateral Management Motion, the Canadian Court also

granted an order (the “Sale Approval Order,” and together with the Wind-Down and Turn-Over

Order, the KERP Order, and the Collateral Management Order, the “Wind-Down Orders”):

(i) approving the Servicing Agreement between Integrated Financial Technologies Inc. and the

Manager, dated August 16, 2024 and the transactions contemplated thereby; (ii) approving the

form of dealer and auctioneer agreements attached at Schedule “B” thereto (each, a “Sale

Agreement”) between the Manager and the dealer or auctioneer counterparties identified by the

Manager from time to time (each, a “Dealer”) and the transactions contemplated thereby; (iii)

authorizing the Manager to enter into the Sale Agreements with such minor amendments as may

be required by the Dealers identified by the Manager from time to time; (iv) confirming the

Manager’s authority to transfer Sold Vehicles free and clear of any claims; and (v) providing

related relief. Notwithstanding the delivery of any Management Property to, and disposition of

any such Management Property by or on behalf of, the Pride Entities or the Manager or any agent,

representative, professional, dealer, auctioneer or other party retained by the Pride Entities or the

Manager, the Manager’s interests in the Management Property shall maintain the validity,




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enforceability and priority over any third-party creditor’s interests (if any) as prior to such delivery

and disposition.

          26.    The Canadian Court granted the Sale Approval Order on October 17, 2024, which

is attached hereto as Exhibit I. It is a condition precedent under the approved form of Sale

Agreement attached to the Sale Approval Order that the Foreign Representative obtain an order

from this Court enforcing the Sale Approval Order in the territorial jurisdiction of the United States

because certain of the assets are located in the United States.

          27.    As set forth above, the Wind-Down and Turn-Over Order provides a

comprehensive mechanism for the turnover of Remaining Assets and imposes certain obligations

related thereto on the Pride Entities, the CRO, and the Monitor. This mechanism is designed to

treat the Recourse Lenders fairly and equitably with respect to the turnover of the Remaining

Assets.

          28.    The Collateral Management Order and the Sale Approval Order, in turn, are

intended to facilitate and operationalize the relief granted in the Wind-Down and the Turn-Over

Order and is expressly subject to the terms thereof. Effectively, the Collateral Management Order

and Sale Approval Order enable the Manager to manage and realize on the Management Property

within the CCAA Proceedings, and transfer to the Syndicate Lenders the cost of such management

and realization.

          29.    In connection with the Wind-Down and Turn-Over Order and the Sale Approval

Order, the Foreign Representative is hereby seeking certain additional ancillary relief to ensure

that the sale of assets located in the United States is consistent with the intent of those orders.

Specifically, the Foreign Representative is hereby requesting a waiver of any requirement that the

Pride Entities or the Manager make a filing under the Uniform Commercial Code in connection




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with such sales. The Foreign Representative understands that certain state laws may require such

filings to protect the Pride Entities’ or the Manager’s interests in the vehicles to be sold pursuant

to the sale agreements. In order to facilitate the sales within the United States without such

additional administrative burden, the Foreign Representative is seeking this ancillary relief out of

an abundance of caution.

       30.     The Foreign Representative submits that the relief contemplated by the Wind-

Down Orders is necessary and appropriate to effectuate the orderly wind-down of the Pride

Entities’ operations, turnover the Pride Entities’ remaining assets to their secured creditors and

bring the CCAA Proceedings and these Chapter 15 Cases to their conclusion. Moreover, to

consummate the transactions contemplated by, and approved under, the Sale Approval Order, the

Foreign Representative must obtain an order from this Court enforcing the Sale Approval Order

in the territorial jurisdiction of the United States. As such, to facilitate the relief obtained in the

Wind-Down Orders, the Pride Group urgently requires the relief requested herein.

                                      RELIEF REQUESTED

       26.     By this Motion, the Foreign Representative seeks entry of the Proposed Order

enforcing the Wind-Down Orders in the United States, and granting such other and further relief

as the Court deems just and proper.

                              BASIS FOR RELIEF REQUESTED

       27.     Upon recognition of a foreign proceeding, section 1521(a) of the Bankruptcy Code

authorizes the Court to grant “any appropriate relief” at the request of the recognized foreign

representative “where necessary to effectuate the purpose of [chapter 15] and to protect the assets of

the debtor or the interests of the creditors.” Such relief may include “granting any additional relief

that may be available to a trustee, except for relief available under sections 522, 544, 545, 547, 548,

550, and 724(a) of the Bankruptcy Code.” 11 U.S.C. § 1521(a)(7). The Court may grant relief under


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section 1521(a) of the Bankruptcy Code if the interests of “the creditors and other interested entities,

including the debtor, are sufficiently protected.” 11 U.S.C. § 1522(a).

        28.     As noted in the September 30 Endorsement, there is consensus that a going concern

restructuring is no longer viable, that the Pride Entities need to be wound-down, and that the

Liquidity Requirement is necessary to fund the wind-down. The Monitor is supportive of the Wind-

Down Plan as contemplated by the Wind-Down Orders on the basis that it (i) provides for a fair and

coordinated effort to liquidate the Pride Entities, (ii) intends to maximize recoveries and preserve the

value of secured lenders’ collateral, and (iii) downsizes the Pride Entities’ workforce to align with

the wind-down of the Pride Entities’ business operations, while incentivizing the Key Personnel to

continue their employment during the wind-down.

        29.     Moreover, the alternative to the Wind-Down Plan is a hard shut down of the Pride

Entities’ operations. This would inevitably create a disorderly and disruptive situation that would

(i) result in the immediate termination of more than 900 employees and contractors, (ii) abruptly

abandon customers, vehicles and in-progress operations, (iii) result in an uncoordinated process of

the Pride Entities’ secured creditors racing to locate and retrieve their vehicle collateral, (iv) leave

the Pride Entities’ assets stranded or in the wrong hands, and (v) provide no funding to conclude the

CCAA Proceedings and these Chapter 15 Proceedings.

        30.     Further, the relief sought in the Wind-Down Orders generally comports with U.S.

due process standards. On notice to creditors, the Canadian Court reviewed each of the Wind-

Down Orders, held hearings, and all creditors and other parties had a full and fair opportunity to

participate. By granting the relief requested herein, the Court would enforce the Wind-Down

Orders on a coextensive basis in the United States, which will allow the Pride Group to effectuate




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the Wind-Down Plan as contemplated by the Wind-Down Orders in accordance with the budget

and timetable contemplated therein.

       31.    Granting the requested relief is also in the public interest because it promotes

cooperation between jurisdictions in cross-border insolvencies, which is an express purpose of

chapter 15 of the Bankruptcy Code. See 11 U.S.C. § 1501(a).

       32.    For those reasons, the Foreign Representative respectfully submits that the relief

requested herein is authorized under section 1521(a) of the Bankruptcy Code and should be

approved.

                                           NOTICE

       33.    The Foreign Representative has provided notice of this Motion consistent with the

Bankruptcy Code, the Bankruptcy Rules and the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”).

The Foreign Representative submits that such notice is sufficient in view of the facts and

circumstances, and no other or further notice need be provided.




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                                         CONCLUSION

       WHEREFORE, the Foreign Representative respectfully requests that the Court enter an

order, substantially in the form attached as Exhibit A, granting the requested relief and such other

and further relief as may be just and proper.



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